

Full v Monroe County Sheriff's Dept. (2017 NY Slip Op 05555)





Full v Monroe County Sheriff's Dept.


2017 NY Slip Op 05555


Decided on July 7, 2017


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on July 7, 2017
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., DEJOSEPH, CURRAN, AND WINSLOW, JJ.


892 CA 16-01532

[*1]KARI ANN FULL, INDIVIDUALLY, AND AS PERMANENT GUARDIAN OF SHANE D. FULL, PLAINTIFF-APPELLANT,
vMONROE COUNTY SHERIFF'S DEPARTMENT, MONROE COUNTY SHERIFF, CITY OF ROCHESTER, CITY OF ROCHESTER POLICE DEPARTMENT, TOWN OF GREECE, COUNTY OF MONROE, MONROE COUNTY AIRPORT AUTHORITY, DEFENDANTS-RESPONDENTS, ET AL., DEFENDANT. (APPEAL NO. 1.) 






HOGAN WILLIG, PLLC, AMHERST (LINDA LALLI STARK OF COUNSEL), FOR PLAINTIFF-APPELLANT. 
MICHAEL E. DAVIS, COUNTY ATTORNEY, ROCHESTER (MATTHEW D. BROWN OF COUNSEL), FOR DEFENDANTS-RESPONDENTS MONROE COUNTY SHERIFF'S DEPARTMENT, MONROE COUNTY SHERIFF, COUNTY OF MONROE, AND MONROE COUNTY AIRPORT AUTHORITY.
GALLO &amp; IACOVANGELO, LLP, ROCHESTER (JOHN C. PALERMO OF COUNSEL), FOR DEFENDANT-RESPONDENT TOWN OF GREECE. 
ROCHESTER POLICE DEPARTMENT. 


	Appeal from an order of the Supreme Court, Monroe County (J. Scott Odorisi, J.), dated November 17, 2015. The order granted the motions of defendants-respondents for summary judgment and dismissed the complaint against defendants-respondents. 
It is hereby ORDERED that said appeal is unanimously dismissed without costs.
Same memorandum as in Full v Monroe County Sheriff's Dept. ([appeal No. 3] ___ AD3d ___ [July 7, 2017]).
Entered: July 7, 2017
Frances E. Cafarell
Clerk of the Court








